                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TENNESSEE

 STATE OF TENNESSEE;                   )
 COMMONWEALTH OF VIRGINIA,             )
                                       )   Case No. 3:24-cv-00033-DCLC-DCP
       Plaintiffs,                     )
                                       )
                                       )
 NATIONAL COLLEGIATE ATHLETIC          )
 ASSOCIATION,                          )
                                       )
       Defendant.                      )

      DEFENDANT’S SUPPLEMENTAL MEMORANDUM IN OPPOSITION TO
          PLAINTIFFS’ REQUEST FOR PRELIMINARY INJUNCTION




Case 3:24-cv-00033-DCLC-DCP Document 37-1 Filed 02/10/24 Page 1 of 7 PageID #:
                                  1453
        Nothing has changed in a week. The Court should not reverse course from its finding that

 Plaintiffs cannot show irreparable harm. That essential element remains an insurmountable hurdle.

 Like a TRO, a preliminary injunction is an “extraordinary remedy that may only be awarded upon

 a clear showing that the plaintiff is entitled to such relief.” Winter v. NRDC, 555 U.S. 7, 22 (2008).

 “[P]laintiffs seeking preliminary relief [must] demonstrate that irreparable injury is likely in the

 absence of an injunction.” Id. And, as the Court correctly concluded, alleged harms cannot be

 “irreparable” if “fully compensable by monetary damages.” Op. 10.

        Plaintiffs’ supplementation does not change that their original claim of irreparable harm—

 lost NIL inducements—is compensable through money damages. Plaintiffs’ claim that it is

 impossible to build an economic model of such inducements is both incorrect and off point.

 Plaintiffs’ own expert has sponsored similar models, and whether or not such harm can be modeled

 on a class-wide basis says nothing about whether an individual student-athlete could establish a

 money damages claim if she were actually harmed. While Plaintiffs now add new and different

 claims of harm (some of which they repudiated in prior filings), they offer no concrete proof in

 support. They just theorize what might happen. But possibilities are not probabilities. Plaintiffs

 must demonstrate the latter to obtain injunctive relief. They do not and cannot.

  I.      Plaintiffs Continue to Bear the Significant Burden of Proving a Specific and
          Probable Irreparable Harm.

        This Court denied Plaintiffs’ request for a TRO because they did not prove irreparable

 harm. Recognizing the uphill battle they face on the facts, Plaintiffs suggest that their burden of

 proof is now different at the preliminary injunction stage. Plaintiffs are wrong: The requisite

 showing is indistinguishable. Perez-Perez v. Adducci, 459 F. Supp. 3d 918, 924 (E.D. Mich. 2020)

 (describing the difference between a TRO and preliminary injunction as a “linguistic difference

 [that] is largely academic as the same factors apply to both.”) (emphasis added); see also G.S. ex


                                                   1
Case 3:24-cv-00033-DCLC-DCP Document 37-1 Filed 02/10/24 Page 2 of 7 PageID #:
                                  1454
 rel. Schwaigert v. Lee, 558 F. Supp. 3d 601, 607 (W.D. Tenn. 2021) (“A motion for a temporary

 restraining order is considered under the same standard as a preliminary injunction.”). Indeed,

 when a plaintiff fails to demonstrate irreparable harm, district courts within the Sixth Circuit often

 deny the twin requests for a TRO and preliminary injunctive relief simultaneously.1

        “Irreparable harm is an ‘indispensable’ requirement for a preliminary injunction, and ‘even

 the strongest showing’ on the other factors cannot justify a preliminary injunction if there is no

 ‘imminent and irreparable injury.’” Memphis A. Philip Randolph Inst. v. Hargett, 978 F.3d 378,

 391 (6th Cir. 2020) (quoting D.T. v. Summer Cnty. Schs., 942 F.3d 324, 326–27 (6th Cir. 2019)).

 Plaintiffs must establish a harm that is “certain and immediate,” not “speculative or theoretical.”

 Id. “A showing of probable irreparable harm is the single most important prerequisite for the

 issuance of a preliminary injunction.” Blount Pride, Inc. v. Desmond, No. 3:23-CV-00316-JRG-

 JEM, 2023 U.S. Dist. LEXIS 155339, at *20 (E.D. Tenn. Sept. 1, 2023) (citation omitted)).

 Plaintiffs’ suggestion that they face a lower burden now is thus incorrect.

 II.    Plaintiffs’ New Evidence Fails To Establish Irreparable Harm.

        Plaintiffs’ new filings do not undercut this Court’s holding that “any lost opportunities are

 likely compensable by monetary damages.” Op. 10. Plaintiffs begin by arguing that it is

 impossible to calculate damages for lost NIL opportunities, Supp. Br. 3, but their own expert’s

 conduct in the in re NCAA College Athlete NIL Litigation (the “Class Action”) belies his

 convenient assertion here.

        The relevant question is not whether the harms at issue here are part of the damages models

 in the Class Action—the issue Plaintiffs’ expert spends most of his declaration addressing. See


 1
   See, e.g., Moulds v. Bank of N.Y. Mellon, 1:11-CV-200, 2011 U.S. Dist. LEXIS 104144 (E.D.
 Tenn. Sept. 14, 2011); Am.-Arab Anti-Discrimination Comm. v. U.S. Dep’t of Homeland Sec., No.
 23-12436, 2023 U.S. Dist. LEXIS 198276 (E.D. Mich. Sept. 27, 2023); Bleavins v. O’Neal, No.
 2:22-cv-02178-TLP-cgc, 2022 U.S. Dist. LEXIS 53133 (W.D. Tenn. Mar. 24, 2022).

                                                   2
Case 3:24-cv-00033-DCLC-DCP Document 37-1 Filed 02/10/24 Page 3 of 7 PageID #:
                                  1455
 Schwarz Supp. Decl. ¶¶ 14–22 (ECF No. 32-1). The relevant question is whether the harms here

 could be redressed by monetary damages. And on this front, Plaintiffs’ expert’s analysis is

 disingenuous, because most of his assertions about the difficulty of modeling lost NIL inducements

 apply equally well to work he has done in the Class Action. Plaintiffs there seek damages for

 “Broadcast NIL” (BNIL)—potential payments made to student-athletes for participation in

 broadcasts. Schwarz Supp. Decl. ¶ 1 (ECF No. 2-5). Like NIL inducements, BNIL is a market

 that does not presently exist. See Ex. 1, Defendants’ Opp. to Class Cert., In re College Athlete NIL

 Litigation, No. 4:20-cv-03919-CW, ECF No. 249 at 8 (expert admission that BNIL is a made-for-

 litigation fiction). Like NIL inducements, there is “no ‘after period’ (nor a ‘before period’)” for

 BNIL. Schwartz Supp. Decl. ¶¶ 14-16. Like NIL inducements, building a BNIL model involves

 creation of a “counterfactual world.” Supp. Br. 3. Yet Plaintiffs’ expert built a supporting model.

        The point is not that the BNIL model (or any of the models) in the Class Action is

 defensible; the NCAA maintains that they are not. But the Court should not credit the opinion of

 an expert who here claims he cannot model a counterfactual to help one set of plaintiffs, and across

 the country models a similar counterfactual to help a different set of plaintiffs. The coin cannot

 always come up heads. In any event, Plaintiffs’ expert testimony relates only to the creation of an

 economic model, not whether an individual student-athlete could prove an entitlement to money

 damages. If there are, in fact, students who believe they have missed out on more lucrative options

 because of the inducement ban, they could try to bring a money damages lawsuit comparing missed

 opportunities to their real ones. The fact that Plaintiffs have not identified a single such student—

 despite having thousands of student athletes within their borders, at a time when student-athletes

 feel quite comfortable bringing lawsuits against the NCAA—speaks volumes to whether these

 injuries are “likely in the absence of an injunction.” Winter, 555 U.S. at 22 (emphasis added).



                                                  3
Case 3:24-cv-00033-DCLC-DCP Document 37-1 Filed 02/10/24 Page 4 of 7 PageID #:
                                  1456
            Plaintiffs’ new theory of injury from attending an unspecified school that is a bad fit for an

 unspecified student athlete does not solve their problem. As before, the key question is whether

 Plaintiffs can prove that this alleged injury causes “actual and imminent harm.” Op. 12. Instead,

 Plaintiffs offer speculation. Their expert hypothesizes how a fictional athlete might choose a

 school that ends up being a worse fit based on NIL compensation. Schwarz Supp. Decl. ¶¶ 9–13.

 Mr. Heupel echoes this hypothetical concern. Heupel Decl. ¶¶ 17–19 (ECF No. 32-2).2 But these

 declarations are more notable for what they do not say. Plaintiffs offer no evidence that any

 student-athlete is actually being harmed in this way, nor any evidence of NCAA enforcement

 activity against student-athletes that would chill their saying so. On the contrary, their expert

 admits that students’ decisions about where to attend school are multifaceted and often

 idiosyncratic, Schwarz Supp. Decl. ¶¶ 10, 13—precluding Plaintiffs from showing certain and

 immediate harm from the rules they challenge.3

     III.    Plaintiffs Present No Proof Of New Harms Warranting This Court’s Intervention.

            Plaintiffs’ new claims of injury to themselves change nothing. “[A]n injury ‘must be both

 certain and immediate,’ not ‘speculative or theoretical.’” D.T. Summer Cnty. Schs., 942 F.3d 324,

 326–27 (6th Cir. 2019) (citations omitted). Plaintiffs must present “specific facts and a sworn

 basis for finding [it].” Scheurer Hosp. v. ADM Imaging Techs., No. 08-13035-BC, 2008 U.S. Dist.

 LEXIS 57841, at *7–8 (E.D. Mich. July 30, 2008). “Speculation or unsubstantiated fears about

 what may happen in the future cannot provide the basis for a preliminary injunction.” Metro Life



 2
   It is difficult to understand the relevance of Mr. Heupel’s claims that NCAA discipline has a
 chilling effect on recruiting. Heupel Decl. ¶¶ 23–25. The rules Plaintiffs challenge are rules that
 the Division I membership, including the member institutions in Tennessee and Virginia, have
 chosen to apply to all schools.
 3
   Plaintiffs’ supplemental brief also ignores that this Court’s irreparable harm analysis is not
 exhaustive and leaves unanswered many other independent reasons that Plaintiffs have failed to
 meet their burden. See NCAA Resp. Br. ¶¶ I(1), (2), (3), (6).

                                                      4
Case 3:24-cv-00033-DCLC-DCP Document 37-1 Filed 02/10/24 Page 5 of 7 PageID #:
                                  1457
 Ins. Co. v. Vanlue, No. 5:11-CV-00084-R, 2011 U.S. Dist. LEXIS 56699, at *7 (W.D. Ky. May

 23, 2011) (quotations omitted).4

        Plaintiffs’ new claims flunk this test. Despite articulating a parade of horribles involving

 the success of athletic programs and the economies of the States, Plaintiffs offer literally no

 affidavits or documents supporting the purported harms. Indeed, Mr. Heupel’s declaration lauds

 the success of the Tennessee football team, Heupel Decl. ¶ 7, which is inconsistent with Plaintiffs’

 suggestions that his football team and the economy are soon to crater.

        The States’ claims of injury are also belied by the conduct of the schools they seek to

 represent. UT Knoxville is a member of the Southeastern Conference. Both UVA and Virginia

 Tech are members of the Atlantic Coast Conference. Those conferences are, in the Class Action

 lawsuit, defending the precise rules Plaintiffs now challenge.          Moreover, over a hundred

 representatives of universities in Tennessee and Virginia have participated in the NCAA’s

 rulemaking process, including the passage of the rules challenged here that are designed to

 minimize the possibility that long-lasting decisions about where to attend school will be distorted

 by short-term cash payments and unscrupulous actors. Silver Supp. Decl. ¶¶ 4–5. Plaintiffs are

 not injured, much less irreparably so, by rules that institutions in their borders approved, that some

 of the institutions’ Conferences are defending, and that the institutions can vote to change through

 participation in the NCAA process. Indeed, the fact that Plaintiffs have invoked these implausible

 injuries to try to show irreparable harm—just a week after retreating from any claim of sovereign

 injury, see Reply 11 (ECF No. 28)—is proof positive that these claims should be litigated in the

 ordinary course on a full record.



 4
  See also Marathon Equip. Co. v. Quinn, No. 1:22-CV-205-TAV-SKL, 2022 U.S. Dist. LEXIS
 196615, at *8–9 (E.D. Tenn. Oct. 28, 2022); Bertec Corp. v. Sparta Software Corp., No. 2:19-CV-
 04623, 2019 U.S. Dist. LEXIS 222481, at *20 (S.D. Ohio Dec. 27, 2019).

                                                   5
Case 3:24-cv-00033-DCLC-DCP Document 37-1 Filed 02/10/24 Page 6 of 7 PageID #:
                                  1458
                              s/ Robert E. Boston
                              Robert E. Boston (Tenn. BPR # 009744)
                              Taylor J. Askew (Tenn. BPR # 033193) (Pro Hac Vice)
                              David J. Zeitlin (Tenn. BPR # 037664) (Pro Hac Vice)
                              HOLLAND & KNIGHT LLP
                              511 Union Street, Suite 2700
                              Nashville, TN 37219
                              Telephone: (615) 244-6380
                              bob.boston@hklaw.com
                              taylor.askew@hklaw.com
                              david.zeitlin@hklaw.com

                              Rakesh Kilaru (Appearing Pro Hac Vice)
                              WILKINSON STEKLOFF LLP
                              2001 M Street, NW, 10th Floor
                              Washington, DC 20036
                              Telephone: (202) 847-4000
                              rkilaru@wilkinsonstekloff.com

                              Attorneys for Defendant




                                        6
Case 3:24-cv-00033-DCLC-DCP Document 37-1 Filed 02/10/24 Page 7 of 7 PageID #:
                                  1459
